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   SO ORDERED.


   SIGNED this 17 day of July, 2019.

                                                    ___________________________________________
                                                    Stephani W. Humrickhouse
                                                    United States Bankruptcy Judge
_________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               WILMINGTON DIVISION

      IN RE:                                     CASE NUMBER: 19-01162-5-SWH
      JAMES C RICHARDSON
      305 ARBORFIELD DR
      RANDLEMAN, NC 27317

             DEBTOR                              CHAPTER 13

                                           ORDER

              THIS CAUSE coming on to be heard, and being heard, before the Bankruptcy
      Judge upon the Debtor’s attorney’s objects to the Proof of Claim filed by First National
      Bank of Pennsylvania (“FNB”) on 03/21/2019, Claim #4 in the amount of $129,069.13
      in the above captioned case and in support thereof appearing to the Court that good cause
      exists; and for other good cause shown:

             IT IS NOW, THEREFORE, ORDERED, ADJUDGED AND DECREED the
      balance owed by Debtor on Claim # 4 to FNB has a balance of NINE THOUSAND FIVE
      HUNDRED DOLLARS ($9,500.00).

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